     Case 1:24-cr-00376-TSC              Document 19       Filed 11/01/24       Page 1 of 11




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                               CASE NO. l:24-cr-376 (TSC)

             v.


 ERIC LEE PETERSON,                                     VIOLATIONS:
                                                        18 U.S.C. § 1752(a)(l)
                            Defendant.                  (Entering and Remaining in a Restricted
                                                        Building or Grounds)


                                  STATEMENT OF OFFENSE

       Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Eric Lee Peterson, with

the concurrence of the defendant's attorney, agree and stipulate to the below factual basis for the

defendant's guilty plea-that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

        1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

       2.         On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public. The grounds around the Capitol were posted and cordoned off, and the entire area as well

as the Capitol building itself were restricted as that term is used in Title 18, United States Code,

Section 1752 due to the fact that the Vice President and the immediate family of the Vice President,

among others, would be visiting the Capitol complex that day.



                                             Page 1 of11
      Case 1:24-cr-00376-TSC            Document 19        Filed 11/01/24       Page 2 of 11




       3.      On January 6, 2021, a joint session of the United States Congress convened at the

Capitol. During the joint session, elected members of the United States House of Representatives

and the United States Senate were meeting in separate chambers of the Capitol to certify the vote

count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,

November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by

approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint session,

and then in the Senate chamber.

       4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.     At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior fa9ade of the building. Officers with the D.C. Metropolitan Police

Department were called to assist officers of the USCP who were then engaged in the performance

of their official duties. The crowd was not lawfully authorized to enter or remain in the building

and, prior to entering the building, no members of the crowd submitted to security screenings or

weapons checks as required by USCP officers or other authorized security officials.

        6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after



                                             Page 2 ofll
     Case 1:24-cr-00376-TSC              Document 19      Filed 11/01/24       Page 3 of 11




2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $2.9 million dollars for repairs.

       7.      Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to-and did--evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol-including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check-Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

               The Defendant's Participation in the January 6, 2021, Capitol Riot

        8.      On January 6, 2021 , Peterson traveled to Washington, D.C. from the Midwest to

attend the "Stop the Steal" rally that morning. He made his way to the U.S. Capitol and entered

the restricted area of the Capitol Grounds on the east side. While Peterson stood outside the locked

Rotunda doors, he saw nearby rioters working to force their way inside and chanting "This is our

house!" as the building alarm audibly blared from within the Capitol building. See Figure 1 below.




                                            Page 3 ofll
      Case 1:24-cr-00376-TSC         Document 19         Filed 11/01/24      Page 4 of 11




Figure I

           9.   The Rotunda doors were first breached by rioters who shattered the glass to the

doors and forced them open. USCP officers worked to resecure and close the Rotunda doors.

However, the officers were overwhelmed with rioters continuing to enter the Capitol. At

approximately 3:03 PM, Peterson entered the Capitol building. To do so, he walked right by a

police officer posted at the doors. When he entered, Peterson knew that the building was off limits

and he was not authorized to be there. See Figure 2 through Figure 4 below.




Figure 2


                                           Page 4 ofll
      Case 1:24-cr-00376-TSC          Document 19         Filed 11/01/24    Page 5 of 11




Figure 3




Figure 4

           10.   Beginning at approximately 3:02 PM, as Peterson entered the Capitol Building but

before he was inside the Rotunda, dozens of police officers entered the Rotunda and began

dispersing the rioters located in that area. See Figure 5 though Figure 7 below. Peterson entered

the Rotunda at approximately 3:04 PM and took photographs with his cellphone while there.




                                            Page 5 ofll
     Case 1:24-cr-00376-TSC   Document 19       Filed 11/01/24   Page 6 of 11




Figure 6




                                  Page 6 of11
      Case 1:24-cr-00376-TSC           Document 19         Filed 11/01/24    Page 7 of 11




Figure 7

           11.   At approximately 3:07 PM, Peterson and other rioters exited the Capitol Rotunda

because USCP officers (circled below in yellow) ushered them out. See Figure 8 and Figure 9.




Figure 8

           12.   USCP officers closed the doors to stem the tide of rioters entering the building.


                                            Page 7 of 11
      Case 1:24-cr-00376-TSC            Document 19        Filed 11/01/24     Page 8 of 11




However, at approximately 3: 11 PM, the Rotunda doors were opened again. Peterson then exited

the Capitol building through those same doors he had previously entered.




Figure 9

            13.   Peterson entered and remained in other prohibited areas of the Capitol Grounds on

January 6 including the Upper West Terrace, the restricted nature of which was indicated by the

presence of police and fencing. See Figure 10 and Figure 11 below.




Figure 10


                                             Page 8 ofll
      Case 1:24-cr-00376-TSC                Document 19         Filed 11/01/24     Page 9 of 11




Figure 11




                                           Elements of the Offense


            14.      The parties agree that Entering and Remaining in a Restricted Building or Grounds,

in violation of 18 U.S.C. § 1752(a)(l), requires the following elements:

                  a. First, the defendant entered or remained in a restricted building or grounds without

                     lawful authority to do so; and

                  b. Second, the defendant did so knowingly.



                                       Defendant's Acknowledgments

            15.      The defendant knowingly and voluntarily admits to all the elements as set forth

above. Specifically, the defendant admits that he knowingly entered and remained in a restricted

building or grounds, that is, any posted, cordoned-off, and otherwise restricted area within the




                                                  Page 9 ofll
     Case 1:24-cr-00376-TSC           Document 19           Filed 11/01/24     Page 10 of 11




United States Capitol and its grounds, where the Vice President was or would be visiting the U.S.

Capitol on that day, without lawful authority to do so.



                                                     Respectfully submitted,

                                                     MATTHEWM. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                              By:    s/ Cytheria D. Jernigan
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                                            Page 10 of 11
    Case 1:24-cr-00376-TSC           Document 19       Filed 11/01/24      Page 11 of 11




                         DEFENDANT'S ACKNOWLEDGMENT


        I, Eric Lee Peterson, have r~ad this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.



                                      Eric Lee Peterson
                                      Defendant


                          ATTORNEY'S ACKNOWLEDGMENT


       I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.



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Date: ---,----=-+,   °).Lj- -      ◄ R-~~
                                      Attorney for Defendant




                                           Page 11 ofll
